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                 Exhibit D
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             IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION




TIMOTHY PRESNELL,                      *
                                       *


     Plaintiff,                        *
                                       *

                                       *
            V.

                                       *            CV 122-071
KENDALL PATIENT RECOVERY U.S.,         *
LLC, a Delaware limited                *
liability corporation,                 *
                                       *


     Defendant.                        *




                                    ORDER




     Plaintiff Timothy Presnell brings claims against Defendant

Kendall    Patient    Recovery,     U.S.,   LLC   ("KPR")   for   negligence,

willful     and      wanton    misconduct,        private   nuisance,       and

ultrahazardous activity/strict liability.              (Doc. 1, at 17-23.)

Defendant   moves    to   dismiss   Plaintiff's     Complaint for    lack   of

subject matter jurisdiction and failure to state a claim.               (Doc.

23, at 1.)        For the following reasons. Defendant's motion is

GRANTED.




                               I. BACKGROUND


     Plaintiff originally filed suit against Defendant on June 2,

2022 (Doc. 1), and Defendant moved to dismiss the Complaint on

July 15, 2022 (Doc. 23).      Plaintiff filed a response in opposition
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(Doc. 24), and Defendant replied in support of its motion (Doc.

28)      Therefore, the motion has been fully briefed and is ready

for the Court's review.


       Plaintiff brings four claims against Defendant for the harm

it caused Plaintiff from emissions of toxic ethylene oxide ("EtO").

(Doc.    1,   at   1.)     Defendant    operates      an    industrial    medical

sterilization plant in Augusta, Georgia that uses and emits EtO as

part of its sterilization process.           (Id. at 2.)      Plaintiff states,

without citation, that EtO ''is an odorless, colorless gas that is

dangerous, toxic, carcinogenic, and mutagenic," and that it "is

highly     reactive,     readily   taken    up   by   the    lungs,   efficiently

absorbed into the blood stream, and easily distributed throughout

the human body."          (Id. at 5.)

       Plaintiff's claims are brought pursuant to 28 U.S.C. § 1332(a)

because the Parties are citizens of different states and the amount


in controversy exceeds $75,000.            (Id. at 3.)      Plaintiff worked 2.1

miles away from Defendant's facility from 1991-2021.                  (Id. at 16.)

Plaintiff was diagnosed with non-Hodgkin's lymphoma in June 2020.

(Id. at 17.)       Plaintiff "consistently and without any knowledge

that he was doing so, inhaled contaminated air in and around his

work, and in the areas surrounding the KPR facility.                  (Id. at 16.)

At the time of his diagnosis. Plaintiff did not have notice that



^ Defendant submitted two identical documents in reply, Document 27 and Document
28.   The Court refers to Document 28 in this motion.
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his medical condition was wrongfully caused or that it was caused

by Defendant's EtO emissions.                  (Id. at 17.)          Plaintiff does not

allege how such connection was discovered.

       First,      Plaintiff         brings     a    negligence        claim,       alleging

Defendant      breached        its    duty    in    ''one    or    more"    ways.     (Id.)

Plaintiff      then      alleges      six    acts   that     could    be    how   Defendant

breached its duty:

       a. Emitting dangerous volumes of EtO into the air from
       its facility;
       b. Disregarding safe methods to adequately control EtO
       emissions from its facility;
       c. Failing to control and report fugitive emissions of
       EtO;
       d. Failing to comply with Georgia's limits on EtO
       concentrations;
       e. Failing to warn or advise those who live or work in
       the community that they were being exposed to EtO; and
       f. Subjecting those who live and work nearby its facility
       to an elevated cancer risk.


(Id. at 17-18.)          Plaintiff states that "[a]s a proximate result of

one    of   the    aforesaid         negligent      acts     or    omissions.     Plaintiff

suffered injuries of a personal and pecuniary nature."                              (Id. at

18.)    Next, Plaintiff alleges willful and wanton misconduct because

"Defendant        owed    a    duty    to    refrain        from    willful   and    wanton

misconduct and/or conduct which exhibited an indifference and/or

conscious      disregard       to     the   health,    safety,       and    well-being of

Plaintiff."        (Id.)       He again lists the six "possible" actions

outlined      above      and   asserts      Defendant       acted    with   "a    conscious


disregard for the known dangers its EtO posed to its neighbors."
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(Id. at 18-19.) Third, Plaintiff alleges a private nuisance claim,

arguing "Defendant's emissions of carcinogenic EtO interfere with

Plaintiff's enjoyment of property and cause hurt, inconvenience,

or damage to Plaintiff, including his ability to breathe air free

of a carcinogenic toxin in the air at his workplace."           (Id. at 20-

21.)     And finally. Plaintiff brings a claim of ultrahazardous

activity/strict liability, arguing Defendant's use and emission of

EtO constitutes an ultrahazardous activity and created a high

degree of risk to those who live and work in the surrounding area.

(Id.     at   22.)     He   argues    that   because    the   actions   are

ultrahazardous. Defendant "is strictly liable for any injuries

proximately resulting therefrom."        (Id. at 23.)

       Defendant moves to dismiss        Plaintiff's   Complaint for two

reasons.      (See Doc. 23.)    First, it argues the Court lacks subject

matter jurisdiction over Plaintiff's claims because Plaintiff's

injuries are not traceable to Defendant's conduct.            (Id. at 4-9.)

Alternatively, Defendant moves to dismiss for failure to state a

claim.    (Id. at 9-24.)       The Court addresses Defendant's arguments

below.




                            II. LEGAL STANDARD


       In considering a motion to dismiss under Rule 12(b)(6), the

Court tests the legal sufficiency of the complaint.             Scheuer v.

Rhodes, 416 U.S. 232, 236 (1974), overruled on other grounds by
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Davis V. Scherer, 468 U.S. 183 (1984).           Pursuant to Federal Rule

of Civil Procedure 8(a)(2), a complaint must contain "a short and

plain statement of the claim showing that the pleader is entitled

to relief" to give the defendant fair notice of both the claim and

the supporting grounds.        Bell Atl. Corp. v. Twombly, 550 U.S. 544,

555    (2007).     Although "detailed factual allegations" are              not

required, Rule 8 "demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusation."            AshCroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Twombly, 550 U.S. at 555).

       A plaintiff's pleading obligation "requires more than labels

and conclusions, and a formulaic recitation of the elements of a

cause of action will not do."          Twombly, 550 U.S. at 555.           "Nor

does a complaint suffice if it tenders 'naked assertions' devoid

of 'further factual enhancement.'" Iqbal, 556 U.S. at 678 (quoting

Twombly,     550   U.S.   at   557).   The   Court   need   not   accept    the

pleading's legal conclusions as true, only its well-pleaded facts.

Id. at 677-79.       Furthermore, "the court may dismiss a complaint

pursuant to [Rule 12(b)(6)] when, on the basis of a dispositive

issue of law, no construction of the factual allegations will

support the cause of action."           Marshall Cnty. Ed. of Educ. v.

Marshall Cnty. Gas Dist., 992 F.2d 1171, 1174 (11th Cir. 1993)

(citing Exec. 100, Inc. v. Martin Cnty., 922 F.2d 1536, 1539 (11th

Cir. 1991)).
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                                  III. DISCUSSION


       First,    the    Court addresses Defendant's argument regarding

subject matter jurisdiction.2               Defendant argues the Court lacks

subject matter jurisdiction over Plaintiff's claims because the

Complaint      ''does    not    plausibly      show      that   Plaintiff's      alleged

injuries are attributable               to Etc emissions at all,              much less

[Defendant's] conduct," and "[s]peculation does not satisfy the

traceability requirement for Plaintiff to have standing."                            (Doc.

23, at 5, 9.)        Defendant argues "Plaintiff relies on a speculative

chain of possibilities to reach the unsupported conclusion that

his    alleged    injuries      are     traceable     to    [Defendant's]        conduct,

rather    than   other    factors."        (Id.     at    5.)     Overall,     Defendant

asserts       Plaintiff       lacks     standing      because         he   "offers     only

speculation that (1) his injuries were caused by EtO and (2) any

Etc    that    may     have    caused    his   injuries         was    emitted    by    the

[Defendant's facility]." (Id. at 9.) Defendant argues Plaintiff's

referenced studies contradict those conclusory allegations and

instead show the "alleged injuries not only could have been, but

were statistically much more likely to have been, caused by an

independent source or a third party."                 (Id.)




2 This Court recently dismissed similar claims in Lambert v. Kendall Patient
Recovery U.S., LLC, No. 121-111, 2022 WL 3139966 (S.D. Ga. Aug. 5, 2022) and
Browman v. Kendall Patient Recovery U.S., LLC, No. 121-112, 2022 WL 4451339
(S.D. Ga. Sept. 23, 2022).      The Court's analysis of subject matter jurisdiction
in the case at hand mirrors the analysis found in these related cases.                  See
Lambert, 2022 WL 3139966, at *3-5; Browman, 2022 WL 4451339, at *2-5.
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       In response. Plaintiff argues that "to establish Article 111

standing at the pleading stage" in harmful emission cases, he "need

only    allege    that    Defendant   discharges    a   pollutant     into   the

community that causes or contributes to the kinds of injuries he

suffered."       (Doc. 24, at 1.)     He relies on various cases to argue

Article 111 traceability is a "low bar" in these types of cases.

(Id.    at   4-5.)       Defendant    rebuts   these    assertions,    arguing

Plaintiff's       standard      "is   not   the    standard   for     pleading

traceability in the ^context of harmful emissions^'. . .                [t]his

is the standard for pleading traceability in the specific context

of citizen suits under the Clean Water Act (^CWA')."              (Doc. 28, at

2-3.)    Defendant argues the cases Plaintiff cites for the "low-

bar" traceability standard involve the CWA, and are not claims for

alleged bodily injury, thus are not applicable to the case at hand.

(Id. at 4.)

       Standing is an essential, limiting aspect on the power of the

federal courts.      Spokeo, Inc. v. Robins, 578 U.S. 330, 337 (2016).

Only plaintiffs who "have (1) suffered an injury in fact, (2) that

is fairly traceable to the challenged conduct of the defendant,

and (3) that is likely to be redressed by a favorable judicial

decision" have standing to sue.         Id. at 338 (citing Lujan v. Defs.

of   Wildlife, 504       U.S.   555, 560-61 (1992)).      Here,     the second

element, traceability, is contested.
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    '^The traceability prong means it must be likely that the

injury was caused by the conduct complained of and not by the

independent action of some third party not before the court."

Friends of the Earth, Inc. v. Gaston Copper Recycling Corp., 204

F.3d 149, 154 (4th Cir. 2000) (citation omitted).          ''The plaintiff,

as the party invoking federal jurisdiction, bears the burden of

establishing these elements."         Spokeo, 578 U.S. at 338 (citation

omitted).     "[A]t    the    pleading    stage,     the   plaintiff    must

'clearly . . . allege facts demonstrating' each element."               Id.

(citation and footnote omitted).

     Citing CWA cases. Plaintiff asserts he must only satisfy a

low bar for traceability.      (Doc. 24, at 4-5 (citing Black Warrior

Riverkeeper, Inc. v. U.S. Army Corps of Eng'rs, 781 F.3d 1271,

1280 (11th Cir. 2015); Jones Creek Invs., LLC v. Columbia Cnty.,

98 F. Supp. 3d 1279, 1298 (S.D. Ga. 2015); Mrosek v. Peachtree

City, No. 3:12-cv-0094, 2014 WL 11279463, at *4 (N.D. Ga. Dec. 22,

2014), aff'd, 631 F. App'x 757 (11th Cir. 2015)).)                However,

Defendant is correct in arguing that in these types of cases,

"Congress   gave   citizens     the     right   to    protect   intangible

'interests' in the environment."         (See Doc. 28, at 3 (citing 33

U.S.C. § 1365(g); Middlesex Cnty. Sewerage Auth. v. Nat'l Sea

Clammers Ass'n, 453 U.S. 1, 16-17 (1981)).)          The Eleventh Circuit

recognized as much in Black Warrior Riverkeeper, where it found

allegations of aesthetic harm, recreational harm, and threat to
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Plaintiffs' members ''health by drinking water . . . . [fell] within

the zone of interests contemplated by the CWA and [the National

Environmental Policy Act ("NEPA")]."                781 F.3d at 1280.

     As Defendant argues,              "Plaintiff    is    not suing       to protect

intangible interests in the environment or to enforce federal law.

He is suing to recover for an alleged bodily injury."                       (Doc. 28,

at 4.)      Therefore,      Defendant      argues     the   facts    in    this   case

differentiate      it   from   those    which    warrant    the   low-bar    standard


called   for   in   CWA     cases.       (Id.)      Further,      Defendant    argues

Plaintiff fails to allege his injuries are fairly traceable to its

conduct because the link between its conduct and Plaintiff's injury

is too attenuated.         (Id. at 4-5.)         As it argues, "Plaintiff has

not alleged facts supporting an inference that alleged emissions

from [Defendant's facility] caused any exposure above background

levels of EtO."         (Id. at 6.)

     The Court agrees the traceability standard utilized in CWA

cases is materially distinct from the standard utilized in tort

cases.     As stated by a sister court deciding a tort case in this

circuit,    "the    [CWA]      cases    [Plaintiff     relies]      upon    for   this

proposition are not binding on this Court [in this context] and

all concern the discharge by one or two defendants of pollutants

into waterways."         Coffie v. Fla. Crystals Corp., 460 F. Supp. 3d

1297, 1305 (S.D. Fla. 2020) (citations omitted).                    The low bar of

traceability required to establish CWA standing is different than
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the traditional level of traceability required in tort cases, like

this harmful emissions case.            Compare Adinolfe v. United Tech.

Corp., 768 F.3d 1161, 1164 (11th Cir. 2014) (finding a plaintiff's

injuries   fairly    traceable     in    the    tort   context      where   "[t]he

plaintiffs    claimed    [defendant's]         chemicals    migrated     to   [the

subject property where they resided] via the southward-flowing

aquifer    underlying    both    [defendant's]      plant     and   [plaintiffs'

property],"    among     other     allegations),       with      Black      Warrior

Riverkeeper, 781 F.3d at 1280 (analyzing whether that plaintiff's

claims fell "within the zone of interests contemplated by the CWA

and NEPA"), Jones Creek Invs., 98 F. Supp. 3d at 1298 (enumerating

the traceability requirements "in a [CWA] case"), and Mrosek, 2014

WL 11279463, at *4 (same).         For tort cases in which Congress has

not specially provided a lower standard of traceability, the Court

is not empowered to utilize the lower bar it has authorized for

cases in a different context.           As such, for this toxic tort case

the Court must utilize the traditional standard for traceability.

     To    satisfy      the     traditional      traceability       requirement.

Plaintiff must allege injuries that are "fairly traceable" to

Defendant's actions.          Spokeo, 578 U.S. at 338.           "[I]t must be

likely that the injury was caused by the conduct complained of and

not by the independent action of some third party not before the

court."    Gaston Copper Recycling Corp., 204 F.3d at 154 (citation

omitted). Although proving causation is not required at the motion



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to dismiss stage, ^^there must be a causal connection between the

injury and the conduct complained of - the injury has to be fairly

. . . traceable to the challenged action of the defendant, and not

the result of the independent action of some third party."                           Lujan,

504 U.S. at 560-61 (alterations adopted and citation and quotations

omitted); see also Debernardis v. IQ Formulations, LLC, 942 F.3d

1076, 188 (11th Cir. 2019) ("To establish standing, a plaintiff

must allege that her injury is fairly traceable to the challenged

conduct of the defendant.                Under this requirement, the line of

causation between the alleged conduct and the injury must not be

too attenuated.") (citations and quotations omitted).

       In this case. Plaintiff alleges the census tract in which

Defendant's facility is located has a heightened potential cancer

risk of 64 parts per one million due to exposure of air toxins.^

(Doc. 1, at 12.)           Further, he alleges he worked 2.1 miles away

from Defendant's facility for about thirty years, from 1991-2021.

(Id. at 16.)        Plaintiff alleges he "consistently and without any

knowledge that he was doing so, inhaled contaminated air in and




3   Defendant   asserts   that   the   2014   National   Air   Toxics   Assessment   ("NATA")
misidentified the facility's address as 2102 Old Savannah Road in Census Tract
13245010400, whereas the 2017 NATA correctly identified the facility's address
as 1430 Marvin Griffin Road, in Census Tract 13245010600.               (Doc. 23, at 8 n.15.)
Defendant asserts that Census Tract 13245010600 has a lower cancer risk from
toxic air pollutants than does tract 13245010400, and, because the facility is
in Census Tract 13245010600, not tract 13245010400, "Plaintiff does not allege
that any cancer risk in the tract where the Facility is located was caused by
EtO."  (Id. at 8-9.)   This discrepancy does not change the Court's analysis
because Plaintiff does not allege that he worked within the same census tract
as Defendant's facility, regardless of which tract the facility is in.


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around his work, and in the areas surrounding the KPR facility."

(Id.)

        Even   accepting      all   of    Plaintiff's          allegations       as    true,

Plaintiff's       injuries      cannot     be      plausibly        traced       to     this

Defendant's     emissions.          Plaintiff      describes        the    Augusta-area

census tract with elevated EtO emissions that raise the rate of


cancer like his; he also pleads he worked 2.1 miles from the

facility.      (Id. at 11, 16.)          Crucially, however. Plaintiff fails

to allege Plaintiff's work was within the census tract with the

heightened risk of cancer - instead he vaguely alleges he "inhaled

contaminated      air    in   and   around       his     work,    and     in    the    areas

surrounding     the     KPR   facility."          (Id.    at     16.)     Nowhere       does

Plaintiff allege he worked within the elevated-risk census tract

or in any other particular concrete area in which Defendant caused

elevated risks of cancer.            To allow Plaintiff to proceed without

any allegation of how far Defendant's pollution stretched (even if

only to Plaintiff's front door) would be to allow any Augusta-area

resident - indeed, any resident of an indefinite area surrounding

Defendant's plant, to sue Defendant for its EtO emissions.                             Those

injuries could not be fairly traced to this Defendant's emissions.

Without    more    information       -    even    just     slightly       more       than   a

threadbare     allegation      that      Defendant's       EtO     emissions         reached

Plaintiff's work - Plaintiff has failed to provide facts that would

allow    the   plausible      inference         that   his     injuries        are    fairly



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traceable to Defendant's activities.              Article III requires more

than a claim of exposure merely because Plaintiff worked within

2.1 miles of the pollution; Plaintiff must at least plead facts

allowing    the   Court   to   plausibly     find    his    injury   was   fairly

traceable to Defendant's alleged pollution.                 In all, the Court

finds traceability is too speculative and attenuated to establish

standing in this case because there is no evidence Plaintiff was

even ever within the area of heightened risk.              Therefore, Plaintiff

lacks standing,'' and his Complaint shall be DISMISSED.



                               IV. CONCLUSION


      For   the   foregoing    reasons,      IT     IS   HEREBY   ORDERED    that

Defendant's motion to dismiss (Doc. 23) is GRANTED and this matter

is DISMISSED WITHOUT PREJUDICE.       The Clerk is DIRECTED to TERMINATE


all pending motions and deadlines, if any, and CLOSE this case.



      ORDER ENTERED at Augusta, Georgia,_this                  day of February,

2023.




                                    J. RAl   DAL^AL]/ CHIEF~jt3DGE
                                    UNITE     STATES DISTRICT COURT
                                           ?HERN DISTRICT OF GEORGIA




^ Because the Court lacks subject matter jurisdiction over Plaintiff's claims,
the Court does not address the remaining arguments.



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